         Case: 1:19-cv-02952 Document #: 163 Filed: 06/26/20 Page 1 of 4 PageID #:9368




                          UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    ART AKIANE LLC,                                        Case No. 19-cv-02952
              Plaintiff,
                                                           Judge Edmond E. Chang
    v.
                                                           Mag. Judge Jeffrey Cole
    ART & SOULWORKS LLC, and
    CAROL CORNELIUSON,                                     Oral Argument Requested
              Defendants.

    ART AKIANE LLC’S REQUEST FOR LEAVE TO FILE A SUR-REPLY TO DKT. 160

            Art Akiane LLC (“Plaintiff”) respectfully requests leave to file a sur-reply to correct three

newly-raised points by Art & Soulworks, LLC’s and Carolyne Corneliuson’s (“Defendants”)

Reply brief.

            First, Defendants suggest that Plaintiff’s productions were untimely because its discovery

responses were served on March 2, before the official COVID shutdown, and documents came

later. (Dkt. 160 at 5.) Defendants’ point is a half-truth. While the responses were timely served

pre-COVID (and objected due to irrelevance), the parties meet and confer ended March 23 –

Illinois’s shutdown began March 21. Plaintiff then worked with Defendants through late-April on

a search protocol (see, e.g., Dkt. 157-4 at 1-8), and informed them it would produce more

documents. (See Dkts. 157-3 & 157-4). And while Defendants only cite the June 3 production,

thousands of documents were produced on May 6, then again on June 3. (Dkt. 157-3 at 2-8). It

was after the March 23 conference that document processing and production was slowed by

COVID issues.1 In any event, Plaintiff has complied with Defendants’ requests, so it is unclear


1
 Since March 23, Plaintiff worked on collecting and processing additional documents stemming from the
meet and confer. After an additional 250,000+ documents were collected, the parties worked on a search
protocol to narrow the amount, and agreed to a protocol in late April. Plaintiff then produced documents on
May 6, and informed Defendants on May 5, 6, 20, 22 and 29 (Dkt. 157-3 & 157-4) that it would produce
more. Defendants filed their motion on May 29. Plaintiff produced more documents on June 3.
    Case: 1:19-cv-02952 Document #: 163 Filed: 06/26/20 Page 2 of 4 PageID #:9369




why Defendants continue to press their motion; unlike the Defendants’ position regarding

Plaintiff’s discovery requests—to “st[and] firm on certain responses” to produce nothing or

nothing further (Dkt. 158 at 3)2—Plaintiff’s position was the opposite, actively supplementing its

discovery responses.

        Second, Plaintiff complied with the Confidentiality Order. Whereas Paragraph 11(a) of that

Order required Defendants to meet and confer over any disputes over a confidentiality designation;

Defendants have not done so. If Defendants intended to challenge a designation, the parties should

have met and conferred over that dispute before bringing it to the Court.

        Third, it is not correct that Plaintiff failed to previously produce documents pursuant to the

MIDP – it produced documents on November 15, 2019. The ‘millions of pages’ Defendants

reference (Dkt. 160 at 3) were a separate issue that stemmed from ASW’s demands made during

the March 23, 2020 meet and confer. Plaintiff believes those requests sought irrelevant and overly-

broad documents, but produced them regardless pursuant to the agreed-upon search protocol to

avoid a discovery dispute.




Dated: June 26, 2020                Respectfully submitted,

                                    ART AKIANE LLC, AKIANE ART GALLERY, LLC,
                                    AND AKIANE KRAMARIK

                                    By: s/Adam Wolek
                                        Adam Wolek
                                        TAFT STETTINIUS & HOLLISTER LLP
                                        111 E. Wacker Drive, Suite 2800
                                        Chicago, Illinois 60601
                                        Phone: (312) 836-4063
                                        Fax: (312) 966-8598

2
 Defendants’ statement that they are standing firm on not providing discovery (Dkt. 158 at 3) is at odds
with their position that they promised to supplement their responses. (Dkt. 160 at 3.)

                                                    2
Case: 1:19-cv-02952 Document #: 163 Filed: 06/26/20 Page 3 of 4 PageID #:9370




                            Rachel A. Smoot (pro hac vice)
                            TAFT STETTINIUS & HOLLISTER LLP
                            65 East State Street, Suite 1000
                            Columbus, Ohio 43215
                            Phone: (614) 221-2838
                            Fax: (614) 221-2007
                            rsmoot@taftlaw.com

                            Counsel for Plaintiff and Counter-
                            Defendants




                                      3
   Case: 1:19-cv-02952 Document #: 163 Filed: 06/26/20 Page 4 of 4 PageID #:9371




                               CERTIFICATE OF SERVICE

       I hereby certify that on June 26, 2020, the foregoing was filed with the Clerk of Court via

CM/ECF, which provided notice of same to all parties who have made an appearance in this case.


                                                    /s/ Adam Wolek




                                                4
